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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA


COMMITTEE ON WAYS AND MEANS,
UNITED STATES HOUSE OF REPRESENTATIVES,
1102 Longworth House Office Building
Washington, D.C. 20515,

                             Plaintiff,

           v.                                         Case No. 1:19-cv-1974

UNITED STATES DEPARTMENT OF
THE TREASURY,
1500 Pennsylvania Avenue N.W.
Washington, D.C. 20220, et al.,

                             Defendants.




                            Exhibit B
6/27/2019               Case 1:19-cv-01974-TNM             Document
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             (http://twitter.com/WaysMeansCmte)                   (http://www.facebook.com/waysandmeanscommitteedems)

                                            (http://www.youtube.com/user/waysandmeansdems)




      NEAL STATEMENT ON REQUESTING PRESIDENT
      TRUMP’S TAX RETURNS
      Apr 3, 2019 | Press Release

      WASHINGTON, DC – Today, Ways and Means Committee Chairman Richard Neal (D-MA) issued the following
      statement after sending a written request
      (/sites/democrats.waysandmeans.house.gov/ les/documents/Neal%20Letter%20to%20Rettig%20%28signed%29%20-
      %202019.04.03.pdf) to Internal Revenue Service (IRS) Commissioner Charles Rettig for six years of President
      Donald J. Trump’s personal and business tax returns:

      “It is critical to ensure the accountability of our government and elected of cials. To maintain trust in our
      democracy, the American people must be assured that their government is operating properly, as laws intend.

      “Congress, as a co-equal branch of government, has a duty to conduct oversight of departments and of cials.
      The Ways and Means Committee in particular has a responsibility to conduct oversight of our voluntary Federal
      tax system and determine how Americans – including those elected to our highest of ce – are complying with
      those laws. It is also our duty to evaluate the operation of the Internal Revenue Service in its administration and
      enforcement of the tax laws.

      “The IRS has a policy of auditing the tax returns of all sitting presidents and vice-presidents, yet little is known
      about the effectiveness of this program. On behalf of the American people, the Ways and Means Committee
      must determine if that policy is being followed, and, if so, whether these audits are conducted fully and
      appropriately. In order to fairly make that determination, we must obtain President Trump’s tax returns and
      review whether the IRS is carrying out its responsibilities. The Committee has a duty to examine whether
      Congressional action may be needed to require such audits, and to oversee that they are conducted properly.

      “I today submitted to IRS Commissioner Rettig my request for six years of the president’s personal tax returns as
      well as the returns for some of his business entities. We have completed the necessary groundwork for a request
      of this magnitude and I am certain we are within our legitimate legislative, legal, and oversight rights.

      “I take the authority to make this request very seriously, and I approach it with the utmost care and respect. This
      request is about policy, not politics; my preparations were made on my own track and timeline, entirely
      independent of other activities in Congress and the Administration. My actions re ect an abiding reverence for
      our democracy and our institutions, and are in no way based on emotion of the moment or partisanship. I trust
      that in this spirit, the IRS will comply with Federal law and furnish me with the requested documents in a timely
      manner.”



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      Subcommittees:
      Oversight (116th Congress) (/subcommittees/oversight-116th-congress)

https://waysandmeans.house.gov/media-center/press-releases/neal-statement-requesting-president-trump-s-tax-returns            1/2
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